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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on June 14, 2024

UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-377-BAH
Vv. : VIOLATION:
: 18 U.S.C. § 231(a)(3)
ANTHONY ROBERT WILLIAMS, : (Civil Disorder)
Defendant.

SUPERSEDING INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, ANTHONY
ROBERT WILLIAMS committed and attempted to commit an act to obstruct, impede, and
interfere with law enforcement officers, that is, officers from the United States Capitol Police,
lawfully engaged in the lawful performance of their official duties, incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

A TRUE BILL:

444 DB Gowen. Aap FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
